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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Case No. 18-cv-01710-KMT

ROGER HILL,

       Plaintiff,
v.

MARK EVERETT WARSEWA,
LINDA JOSEPH, and
THE STATE OF COLORADO

       Defendants.


       MOTION TO CERTIFY QUESTION OF THE NATURE OF THE STATE OF
       COLORADO’S TITLE IN NAVIGABLE RIVERBEDS TO THE COLORADO
            SUPREME COURT PURSUANT TO COLO. APP. R. 21.1(a)


             CERTIFICATE OF COMPLIANCE WITH D.COLO.LCIVR 7.1A

       The undersigned counsel for Plaintiff conferred with Defendants’ counsel prior to filing

this motion. All Defendants oppose this motion.

                                            MOTION

       In their replies to their motions to dismiss, both the Individual Defendants (Warsewa and

Joseph) and the State of Colorado argue there is no “public trust doctrine” in the State of

Colorado and, therefore, that the State’s title to navigable riverbeds does not permit public

access. See ECF Docs. 41 at 5, 42 at 5. Plaintiff, of course, believes that this Court need not

reach the issue of the nature of the State’s title. The issue does not bear on whether the Court

should remand for lack of subject matter jurisdiction. See ECF Doc. 28. Moreover, even if the

Court has subject matter jurisdiction, the Court need not address this merits issue to find that

Plaintiff has standing. See ECF Doc. 35 at 7 (distinguishing between merits issues and standing).



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And, perhaps most importantly, Plaintiff does not even assert third-party standing, which is the

strawman issue contrived by Defendants which they erroneously claim cannot be resolved

without considering the nature of state riverbed title. See ECF Doc. 35 at 16 (“Plaintiff does not

assert third-party standing”).

        But if the Court does decide, as Defendants invite, that it must reach the issue of the

nature of the State’s title to navigable riverbeds in order to decide any of the pending motions—

ECF Docs. 21 (motion to dismiss), 27 (motion to dismiss), 28 (motion for remand to state

court)—, then the Court should certify the issue to the Colorado Supreme Court. See Colo. App.

R. 21.1(a). The Colorado Supreme Court has never addressed this issue and this issue is one of

statewide importance. See Allstate Ins. Co. v. Brown, 920 F.2d 664, 667 (10th Cir. 1990)

(Certification may be appropriate “where the legal question at issue is novel and the applicable

state law is unsettled.”); ECF Doc. 27 at 1 (State of Colorado’s purported parade of horribles if

Plaintiff is successful under his legal theory).

        The State is simply wrong to claim that this issue is “settled” under Colorado law. See

ECF Doc. 41 n. 1 (State arguing certification is unnecessary because the law is “settled” in

Colorado). Plaintiff argues that navigable riverbeds conveyed to the State of Colorado at

statehood under the Federal Constitution were conveyed in trust for public fishing, commerce,

and navigation. See ECF Doc. 35 at 4-6. Scores of Courts in other states have found the same

with regard to their navigable riverbeds. Id. n. 5 (citing cases). In fact, Plaintiff’s counsel is

unaware of any state supreme court holding otherwise, including Colorado’s. The only time the

Colorado Supreme Court considered the issue of public access to Colorado riverbeds, it made




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clear that that the riverbed at issue was assumed to be non-navigable before finding no public

access:1

        The validity of the conviction depends upon our determination of the following
        question: Did the defendants have a right under section 5 of Article XVI of the
        Constitution of Colorado to float and fish on a non-navigable natural stream….

People v. Emmert, 597 P. 2d 1025, 1026 (Colo. 1979) (emphasis added). If navigability does not

bear on public access, why would the Colorado Supreme Court include this caveat?

        Defendants’ unified position—shocking given that one Defendant is the State—is

apparently that the State of Colorado may own title to the beds of navigable rivers within its

borders, but the public has no right to use those beds. However, the “public trust” cases cited by

Defendants for this proposition simply have nothing to do with this issue or this case.2 City of

Longmont v. Colorado Oil & Gas Ass’n considered whether a City of Longmont law was

preempted by state statute. See generally 369 P.3d. 573 (Colo. 2016). In finding preemption, the

Court found that the Colorado Constitution did not contain a provision like that in the

Pennsylvania constitution which “uniquely” created a public trust doctrine broadly protecting the

environment and allowing the Pennsylvania Supreme Court to strike down a state law

prohibiting local regulation of oil and gas development. Id. at 586. Plaintiff is at a loss as to what

this has to do with the nature of the State of Colorado’s title in navigable riverbed, let alone how

it settles the issue.



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  The Emmert case involved the Colorado River and the parties had stipulated that the reach of
the River at issue in that case was not navigable for purposes of the Court’s consideration of
public access rights. 597 P.2d at 1026 (“The parties stipulated that the river is non-navigable and
had not historically been used for commercial or trade purposes of any kind.”). No evidence was
presented, however, to support or refute this claim, and the Court simply accepted the stipulation
for purposes of rendering its decision. That finding is limited to that case and those parties. The
stipulation in Emmert cannot bind parties in future litigation.
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  The State also claims “other cases” establish this issue as settled under Colorado law. ECF
Docs. 41 n. 5. This vague citation is hardly convincing and should be ignored.


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        Similarly inapposite is In re Title, Ballot Title, Submission Clause for 2011-2102 No. 3,

274 P.3d 562, 573 (Colo. 2012). There, the Colorado Supreme Court considered whether a state

constitution ballot initiative on public stream access was a “single question.” Id. Nowhere does

the Court say anything about the nature of the State’s title in navigable riverbeds. Indeed, in

dissent, Justice Hobbs reaffirms Emmert, with the same “non-navigable” caveat:

        In [Emmert], we ruled that the banks and beds of non-navigable streams in
        Colorado are not owned by the State of Colorado or the public at large….

Id. at 572 (dissent with emphasis added). Again, if, as Defendants suggest, navigability has

nothing to do with public access, why does the Colorado Supreme Court insist on a river being

non-navigable for the public to be barred?

        Finally, PPL Montana does not, as Defendants argue, allow a state to entirely abandon its

fiduciary responsibility to allow the public to use state-owned navigable rivers for fishing,

navigation, and commerce. At best, PPL Montana simply states that the scope, not the existence,

of the public’s rights to navigable riverbeds is left to state law:

        While equal footing cases have noted that the State takes title to the navigable
        waters and their beds in trust for the public the contours of that public trust do not
        depend upon the Constitution. Under accepted principles of federalism, the States
        retain residual power to determine the scope of the public trust over waters within
        their borders, while federal law determines riverbed title under the equal-footing
        doctrine.

See PPL Mont., LLC v. Montana, 565 U.S. 576, 604 (2012) (citing Shively v. Bowlby, 152 U.S.

1, 49 (1894) (emphasis added)).

                                           CONCLUSION

        The issue of the nature of the State’s title in navigable riverbeds has never been

considered directly by the Colorado Supreme Court. If this Court believes it must reach this issue

in order to decide the motions ripe before it, Plaintiff requests that the issue be certified to the

Colorado Supreme Court pursuant to Colo. App. R. 21.1(a).


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                                  Respectfully submitted,

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                                     Certificate of Service

       I hereby certify that on September 18, 2018, I served a true and correct copy of the
forgoing on all parties that have appeared pursuant to Fed. R. Civ. P. 5.

                                                    s/Alexander Hood__
                                                    Alexander Hood




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